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 Fill in this information to identify the case:
 United States Bankruptcy Court for the:
 SOUTHERN DISTRICT OF TEXAS

 Case number (if known):                                     Chapter       11
                                                                                                                     Check if this is an
                                                                                                                      amended filing


Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                        04/20

If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor's name and
the case number (if known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-
Individuals, is available.


1.   Debtor's name                     4E Brands Northamerica LLC

2.   All other names debtor used
     in the last 8 years

     Include any assumed names,
     trade names and doing
     business as names


3.   Debtor's federal Employer
     Identification Number (EIN)           4      6      –      5      7        1    0         3   1     0

4.   Debtor's address                  Principal place of business                                     Mailing address, if different from principal
                                                                                                       place of business

                                       17806 Interstate Highway 10                                     700 Canal Street, Suite 12E
                                       Number         Street                                           Number     Street
                                       Suite 300
                                                                                                       P.O. Box



                                       San Antonio                         TX       78257              Stamford                      CT      06902
                                       City                                State    ZIP Code           City                          State   ZIP Code


                                                                                                       Location of principal assets, if different
                                       Bexar                                                           from principal place of business
                                       County



                                                                                                       Number     Street




                                                                                                       City                          State   ZIP Code

5.   Debtor's website (URL)

6.   Type of debtor                           Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                              Partnership (excluding LLP)
                                              Other. Specify:




Official Form 201                          Voluntary Petition for Non-Individuals Filing for Bankruptcy                                             page 1
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Debtor 4E Brands Northamerica LLC                                                         Case number (if known)

7.   Describe debtor's business        A. Check one:

                                            Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                       
                                           Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                           Railroad (as defined in 11 U.S.C. § 101(44))
                                           Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                            Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                       
                                           Clearing Bank (as defined in 11 U.S.C. § 781(3))
                                           None of the above


                                       B. Check all that apply:

                                            Tax-exempt entity (as described in 26 U.S.C. § 501)
                                       
                                           Investment company, including hedge fund or pooled investment vehicle (as defined in
                                            15 U.S.C. § 80a-3)

                                           Investment advisor (as defined in 15 U.S.C. § 80b-2(a)(11))


                                       C.   NAICS (North American Industry Classification System) 4-digit code that best describes debtor. See
                                            http://www.uscourts.gov/four-digit-national-association-naics-codes

                                             3      2      5      9

8.   Under which chapter of the        Check one:
     Bankruptcy Code is the
                                            Chapter 7
     debtor filing?                    
                                           Chapter 9
     A debtor who is a "small              Chapter 11. Check all that apply:
     business debtor" must check
     the first sub-box. A debtor as
                                                         The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D), and its
                                                            aggregate noncontingent liquidated debts (excluding debts owed to insiders or
     defined in § 1182(1) who elects                        affiliates) are less than $2,725,625. If this sub-box is selected, attach the most
     to proceed under subchapter V                          recent balance sheet, statement of operations, cash-flow statement, and federal
     of chapter 11 (whether or not                          income tax return or if any of these documents do not exist, follow the procedure
     the debtor is a "small business                        in 11 U.S.C. § 1116(1)(B).
     debtor") must check the second
     sub-box.                                                  The debtor is a debtor as defined in 11 U.S.C. § 1182(1), its aggregate
                                                         
                                                               noncontingent liquidated debts (excluding debts owed to insiders or affiliates) are
                                                               less than $7,500,000, AND IT CHOOSES TO PROCEED UNDER SUBCHAPTER V
                                                               OF CHAPTER 11. If this sub-box is selected, attach the most recent balance
                                                               sheet, statement of operations, cash-flow statement, and federal income tax
                                                               return, or if any of these documents do not exist, follow the procedure in
                                                               11 U.S.C. § 1116(1)(B).


                                                              A plan is being filed with this petition.

                                                              Acceptances of the plan were solicited prepetition from one or more classes of
                                                               creditors, in accordance with 11 U.S.C. § 1126(b).

                                                              The debtor is required to file periodic reports (for example, 10K and 10Q) with the
                                                               Securities and Exchange Commission according to § 13 or 15(d) of the Securities
                                                               Exchange Act of 1934. File the Attachment to Voluntary Petition for Non-
                                                               Individuals Filing for Bankruptcy Under Chapter 11 (Official Form 201A) with this
                                                               form.


                                                              The debtor is a shell company as defined in the Securities Exchange Act of 1934
                                                               Rule 12b-2.

                                           Chapter 12




Official Form 201                       Voluntary Petition for Non-Individuals Filing for Bankruptcy                                        page 2
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Debtor 4E Brands Northamerica LLC                                                         Case number (if known)

9.   Were prior bankruptcy                 No
     cases filed by or against
     the debtor within the last 8          Yes. District                                        When                    Case number
     years?                                                                                             MM / DD / YYYY
                                                 District                                        When                    Case number
     If more than 2 cases, attach a
                                                                                                        MM / DD / YYYY
     separate list.
                                                 District                                        When                    Case number
                                                                                                        MM / DD / YYYY

10. Are any bankruptcy cases               No
    pending or being filed by a
    business partner or an                 Yes. Debtor                                                        Relationship
    affiliate of the debtor?
                                                   District                                                    When
     List all cases. If more than 1,                                                                                          MM / DD / YYYY
     attach a separate list.                       Case number, if known


                                                   Debtor                                                      Relationship

                                                   District                                                    When
                                                                                                                              MM / DD / YYYY
                                                   Case number, if known


11. Why is the case filed in           Check all that apply:
    this district?
                                           Debtor has had its domicile, principal place of business, or principal assets in this district for 180
                                            days immediately preceding the date of this petition or for a longer part of such 180 days than in
                                            any other district.


                                           A bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this
                                            district.




Official Form 201                       Voluntary Petition for Non-Individuals Filing for Bankruptcy                                            page 3
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Debtor 4E Brands Northamerica LLC                                                Case number (if known)

12. Does the debtor own or          No
    have possession of any
    real property or personal
                                    Yes. Answer below for each property that needs immediate attention. Attach additional sheets if
                                          needed.
    property that needs
                                          Why does the property need immediate attention?               (Check all that apply.)
    immediate attention?
                                              It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or
                                               safety.
                                               What is the hazard?

                                              It needs to be physically secured or protected from the weather.

                                              It includes perishable goods or assets that could quickly deteriorate or lose value without
                                               attention (for example, livestock, seasonal goods, meat, dairy, produce, or securities-
                                               related assets or other options).


                                              Other


                                          Where is the property?
                                                                       Number      Street




                                                                       City                                       State      ZIP Code

                                          Is the property insured?

                                              No
                                              Yes. Insurance agency

                                                       Contact name

                                                       Phone


              Statistical and adminstrative information
13. Debtor's estimation of       Check one:
    available funds
                                  Funds will be available for distribution to unsecured creditors.
                                  After any administrative expenses are paid, no funds will be available for distribution to unsecured
                                     creditors.

14. Estimated number of             1-49                             1,000-5,000                        25,001-50,000
    creditors                        50-99                             5,001-10,000                        50,001-100,000
                                                                                                    
                                    100-199                          10,001-25,000                      More than 100,000
                                    200-999

15. Estimated assets                $0-$50,000                       $1,000,001-$10 million             $500,000,001-$1 billion
                                    $50,001-$100,000                 $10,000,001-$50 million            $1,000,000,001-$10 billion
                                    $100,001-$500,000                $50,000,001-$100 million           $10,000,000,001-$50 billion
                                    $500,001-$1 million              $100,000,001-$500 million          More than $50 billion

16. Estimated liabilities           $0-$50,000                       $1,000,001-$10 million             $500,000,001-$1 billion
                                    $50,001-$100,000                 $10,000,001-$50 million            $1,000,000,001-$10 billion
                                    $100,001-$500,000                $50,000,001-$100 million           $10,000,000,001-$50 billion
                                    $500,001-$1 million              $100,000,001-$500 million          More than $50 billion




Official Form 201                 Voluntary Petition for Non-Individuals Filing for Bankruptcy                                          page 4
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Debtor 4E Brands Northamerica LLC                                                        Case number (if known)


              Request for Relief, Declaration, and Signatures

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to
           $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.


17. Declaration and signature of        The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in
    authorized representative            this petition.
    of debtor
                                        I have been authorized to file this petition on behalf of the debtor.

                                        I have examined the information in this petition and have a reasonable belief that the information is
                                         true and correct.


                                       I declare under penalty of perjury that the foregoing is true and correct.

                                          Executed on 02/22/2022
                                                      MM / DD / YYYY



                                          X /s/ David Dunn
                                              Signature of authorized representative of debtor
                                              David Dunn
                                              Printed name
                                              Chief Restructuring Officer
                                              Title

18. Signature of attorney                X /s/ Matthew D. Cavenaugh                                              Date   02/22/2022
                                            Signature of attorney for debtor                                            MM / DD / YYYY

                                            Matthew D. Cavenaugh
                                            Printed name
                                            Jackson Walker
                                            Firm name
                                            1401 McKinney Street
                                            Number          Street
                                            Suite 1900

                                            Houston                                                    TX                77010
                                            City                                                       State             ZIP Code


                                            (713) 752-4416                                             mcavenaugh@jw.com
                                            Contact phone                                              Email address
                                            24062656                                                   TX
                                            Bar number                                                 State




Official Form 201                        Voluntary Petition for Non-Individuals Filing for Bankruptcy                                      page 5
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                        IN THE UNITED STATES BANKRUPTCY COURT
                          FOR THE SOUTHERN DISTRICT OF TEXAS
                                    LAREDO DIVISION

                                                                  )
    In re:                                                        )   Chapter 11
                                                                  )
    4E BRANDS NORTHAMERICA LLC, 1                                 )   Case No. 22-_____
                                                                  )
                             Debtor.                              )
                                                                  )

                     LIST OF EQUITY SECURITY HOLDERS OF DEBTOR

                  4E Brands Northamerica LLC, a Texas limited liability company, debtor in the

above-captioned case, hereby files its List of Equity Security Holders, pursuant to Rule

1007(a)(3) of the Federal Rules of Bankruptcy Procedure.

                                                      AGGREGATE NUMBER                          PERCENTAGE OF
             EQUITY HOLDER
                                                          OF UNITS                             EQUITY INTERESTS


4E Global S.A.P.I. de C.V.                        N/A                                     100%




1
  The Debtor in this Chapter 11 case, along with the last four digits of the Debtor’s federal tax identification number,
is 4E Brands Northamerica LLC (0310). The Debtor’s principal place of business is 17806 Interstate Highway 10,
Suite 300, San Antonio, TX 78257. The Debtor’s service address is: 700 Canal Street, Suite 12E, Stamford, CT,
06902.
              Case 22-50009 Document 1 Filed in TXSB on 02/22/22 Page 7 of 12




                         IN THE UNITED STATES BANKRUPTCY COURT
                           FOR THE SOUTHERN DISTRICT OF TEXAS
                                     LAREDO DIVISION

                                                                  )
    In re:                                                        )   Chapter 11
                                                                  )
    4E BRANDS NORTHAMERICA LLC, 1                                 )   Case No. 22-_____
                                                                  )
                             Debtor.                              )
                                                                  )

              CORPORATE OWNERSHIP STATEMENT PURSUANT TO
         FEDERAL RULES OF BANKRUPTCY PROCEDURE 1007(A)(1) AND 7007.1

             Pursuant to Rules 1007(a)(1) and 7007.1 of the Federal Rules of Bankruptcy Procedure, I,

David Dunn, as Chief Restructuring Officer of 4E Brands Northamerica LLC, a Texas limited

liability company, debtor in the above-captioned case, declare under penalty of perjury that, to

the best of my knowledge, information and belief, the following corporation is the only

corporation that directly or indirectly owns 10% or more of any class of equity interests in 4E

Brands Northamerica LLC.


    NAME OF CORPORATION                                      PERCENTAGE OF EQUITY INTEREST


    4E Global S.A.P.I. de C.V.                               100%




1
  The Debtor in this Chapter 11 case, along with the last four digits of the Debtor’s federal tax identification number,
is 4E Brands Northamerica LLC (0310). The Debtor’s principal place of business is 17806 Interstate Highway 10,
Suite 300, San Antonio, TX 78257. The Debtor’s service address is: 700 Canal Street, Suite 12E, Stamford, CT,
06902.
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      Fill in this information to identify the case:

      Debtor name     4E Brands Northamerica LLC
      United States Bankruptcy Court for the:   Southern                 District of Texas

      Case number (If known):
                                                                                    (State)
                                                                                                                                                  Check if this is an
                                                                                                                                                     amended filing




    Official Form 204
    Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 30 Largest
    Unsecured Claims and Are Not Insiders                                                                                                                          12/15

    A list of creditors holding the 30 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims which the debtor
    disputes. Do not include claims by any person or entity who is an insider, as defined in 11 U.S.C. § 101(31). Also, do not include claims by
    secured creditors, unless the unsecured claim resulting from inadequate collateral value places the creditor among the holders of the 20
    largest unsecured claims.


     Name of creditor and complete mailing          Name, telephone number,          Nature of the        Indicate if     Amount of unsecured claim
     address, including zip code                    and email address of creditor    claim (for           claim is        If the claim is fully unsecured, fill in only unsecured
                                                    contact                          example, trade       contingent,     claim amount. If claim is partially secured, fill in
                                                                                     debts, bank loans,   unliquidated    total claim amount and deduction for value of
                                                                                     professional         , or disputed   collateral or setoff to calculate unsecured claim.
                                                                                     services, and
                                                                                     governme
                                                                                     nt
                                                                                     contracts)
                                                                                                                          Total claim, if    Deduction for       Unsecured
                                                                                                                          partially          value of            claim
                                                                                                                          secured            collateral or
                                                                                                                                             setoff
     Infini Distribution                          Gray Freeman                       Unsecured                                                                 $2,607,142.82
1                                                 gray@infinidistribution.com
     1403 Gillingham Lane,
     Suite 200
     Sugar Land, TX 77478
     Stericycle, Inc.                             James Birch                        Unsecured            Disputed                                             $2,316,702.81
2                                                 jbirch@rolfeshenry.com
     2355 Waukegan Rd.
     Bannockburn, IL 60015

     SupplyOne                                    Renee Epifano                      Unsecured                                                                 $818,793.71
3                                                 repifano@supplyone.com
     11 Campus Boulevard
     Suite 150
     Newtown Square, PA 19073

     NDC, Inc.                                    Steve Martin                       Unsecured                                                                 $665,524.75
4                                                 smartin@ndc-inc.com
     402 BNA Drive
     Suite 500
     Nashville, TN 37217
     Essendant Management Services                Eric Ives                          Unsecured            Disputed                                             $365,797.18
5                                                 eives@foxswibel.com
     One Parkway North Boulevard
     Deerfield, IL 60015


     Global Impact Innovation LLC                 Badal Moradia                      Unsecured                                                                 $256,643.37
6                                                 badal@gii.llc
     340 Shuman Blvd.
     Naperville, IL 60563


     Airmar Transportes                           Carolina Garduno                   Unsecured                                                                 $255,319.00
7                                                 cgarduno@airmar.com.mx
     Internacionales
     North 174 No. 549
     Col. Pensador Mexicano CP 15510
     Cuidad de Mexico
     School Health                                Laura Hannon                       Unsecured                                                                 $214,784.32
8                                                 Lhannon@schoolhealth.com
     5600 Apollo Drive
     Rolling Meadows, IL 60008

    Official Form 204            Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 30 Largest Unsecured Claims                                         page 1
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    Debtor         4E Brands Northamerica LLC                                                 Case number (if known)
                 Name




     Name of creditor and complete          Name, telephone number, and     Nature of the claim   Indicate if     Amount of unsecured claim
     mailing address, including zip code    email address of creditor       (for example, trade   claim is        If the claim is fully unsecured, fill in only unsecured
                                            contact                         debts, bank loans,    contingent,     claim amount. If claim is partially secured, fill in
                                                                            professional          unliquidated,   total claim amount and deduction for value of
                                                                            services, and         or disputed     collateral or setoff to calculate unsecured claim.
                                                                            government
                                                                            contracts)
                                                                                                                  Total claim, if    Deduction for       Unsecured
                                                                                                                  partially          value of            claim
                                                                                                                  secured            collateral or
                                                                                                                                     setoff

     Acorn East                            Jeff Davimos                     Unsecured             Unliquidated                                         $191,666.68
9                                          jdavimos@acorn-east.com                                & Disputed
     16301 NW 15th Ave.
     Miami, FL 33169


     J.B Hunt Transport Inc                Raziel Cervantes                 Unsecured                                                                  $188,471.00
10                                         raziel.cervantes@jbhunt.com
     P.O. Box 13
     Lowell, AR 72742


     Joffroy Group LLC                     Julio Antonio Rodriguez Torres   Unsecured                                                                  $114,069.04
11                                         jrodriguez@joffroy.com
     10218 Crossroads Loop
     Laredo, TX 78045

   Sidley Austin LLP                       Kara McCall                      Unsecured                                                                  $94,939.08
12 1000 Louisiana Street                   kmccall@sidley.com
   Suite 5900
   Houston, TX 77002

   ELC Beauty LLC                          David Ugenti                     Unsecured                                                                  $91,666.74
13 767 Fifth Avenue, Suite 4603            dugenti@estee.com
   New York, NY 10153


   Fenix Forwarding, Inc.                  Eber Perez                       Unsecured                                                                  $89,900.00
14 417 Logistics                           eber@corporativofenix.net
   Laredo, TX 78045


   HEB                                     Carlos Rivera                    Unsecured                                                                  $70,000.00
15 646 S Flores Street                     rivera.carlos@heb.com
   San Antonio, TX 78204


   Asimex                                  Carelia Islas                    Unsecured                                                                  $40,625.00
16 Mario Pani #750-piso 10                 cislas@asimexglobal.com
   Lomas de Santa Fe
   Contadero, Cuajimalpa de Morelos
   01219 Cuidad de Mexico,
   CDMX, Mexico
   Albertsons Companies, Inc.              Tami Tollefson                   Unsecured                                                                  $35,063.83
17 250 E Parkcenter Blvd.                  tami.tollefson@albertsons.com
   Boise, Idaho 83706


   Arrow Paper                             Eric Skelly                      Unsecured                                                                  $32,373.47
18 228 Andrews St.                         Eric.Skelly@dinsmore.com
   Wilmington, MA 01887


   Nikimo LLC                              Ruben Maciel                     Unsecured                                                                  $28,653.30
19 21781 Ventura Blvd. #439                ruben@slgroupla.com
   Woodland Hills, CA 91364


   McMaster-Carr                      Joseph Krasovec                       Unsecured                                                                  $24,549.48
20 233 South Wacker Drive, Suite 7100 jkrasovec@schiffhardin.com
   Chicago, IL 60606



    Official Form 204         Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 30 Largest Unsecured Claims                                    page 2
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   Name of creditor and complete          Name, telephone number, and   Nature of the claim   Indicate if     Amount of unsecured claim
   mailing address, including zip code    email address of creditor     (for example, trade   claim is        If the claim is fully unsecured, fill in only unsecured
                                          contact                       debts, bank loans,    contingent,     claim amount. If claim is partially secured, fill in
                                                                        professional          unliquidated,   total claim amount and deduction for value of
                                                                        services, and         or disputed     collateral or setoff to calculate unsecured claim.
                                                                        government
                                                                        contracts)
   Valley Solvent Company, Inc.          Nora Garza                     Unsecured                                                                  $21,579.14
21 15281 State Highway 107               noragarza@valleysolvents.com
   Harlingen, TX 78552-4278


   IGPS Logistics LLC                    Emily Lang                     Unsecured                                                                  $18,645.03
22 315 E. Robinson St. #520              elang@foley.com
   Orlando, FL 32801


   SPS Commerce, Inc.                    Sin Informacion              Unsecured                                                                    $14,493.08
23 333 South Seventh Street              accountsreceivable@spscommer
   Suite 1000                            ce.com
   Minneapolis, MN 55402

   Logicargo US Customs and Bonded Alejandro Zamudio                    Unsecured                                                                  $6,263.74
24 Carrier Solutions, LLC          alejandro@logi-cargo.com
   410 Nafta Blvd.
   Laredo, TX 78045

   Registrar Corp                        Chief Executive Officer or     Unsecured                                                                  $4,950.00
25 144 Research Drive                    General Counsel
   Hampton, Virginia 23666               P: 757-224-0177
                                         F: 757-224-0179

   Racher Press Inc.                     Pam Vandernoth                 Unsecured                                                                  $4,000.00
26 220 5th Ave #18                       jdonneruno@racherpress.com
   New York, NY 10001


   Laredo Quality Transfer Services,     Sara de la Garza               Unsecured                                                                  $2,733.81
27 Inc.                                  saradelagarza@laredoquality.co
   502 Nafta Blvd.                       m
   Laredo, TX 78045

   Big Horn School District #3           Tracy Boyer                    Unsecured                                                                  $2,512.50
28 640 8th Avenue North                  trboyer@bgh3.k12.wy.us
   Greybull, WY 82426


   Tarjeta American Express              Chief Executive Officer or     Unsecured                                                                  $1,467.24
29 Three World Financial Center          General Counsel
   200 Vesey Street                      P: 212-640-2000
   New York, NY 10285-4803               F: 623-444-3040

   Coyote Logistics                      Guillermo Chiquete            Unsecured                                                                   $1,018.50
30 2545 W. Diversey Ave. 3rd Floor       Guillermo.chiquete@coyote.com
   Chicago, IL 60647




  Official Form 204          Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 30 Largest Unsecured Claims                                 page 3
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                                                  WRITTEN CONSENT
                                                        OF
                                            4E BRANDS NORTHAMERICA LLC

                                                       FEBRUARY 15, 2022

                   THE COMPANY, 4E BRANDS NORTHAMERICA LLC (the “Company”) takes the
            following actions and adopt the following resolutions without a meeting, as authorized by Section
            101.358 of the Texas Business Organizations Code (“TBOC”), as amended from time to time.

                   WHEREAS, pursuant to Section 101.356 of the TBOC, any action not apparently in the
            ordinary course of business must be approved by an affirmative majority of the governing persons.

                    WHEREAS, pursuant to Section 101.358 of the TBOC, an action may be taken, without
            holding a meeting, providing notice, or taking a vote if a written consent stating the action taken
            is signed by the number of governing persons of a limited liability company necessary to have at
            least the minimum number of votes that would be necessary to take action at a meeting at which
            each governing person entitled to vote on the action is present and votes.

                    WHEREAS, the Company deems it advisable and in the best interest of the Company to
            file bankruptcy under Chapter 11 of the US Code and grant David Dunn, in his capacity as Chief
            Restructuring Officer of the Company, and to each Manager (collectively, the “Authorized
            Persons”) the power and authority to authorize, execute, and approve on behalf of the Company
            all bankruptcy and restructuring matters, including but not limited to filing a petition for
            bankruptcy (the “Bankruptcy Matters”).

                    NOW THEREFORE, BE IT RESOLVED, that, notwithstanding anything to the contrary,
            the Company hereby grants to each Authorized Person the power and authority to authorize,
            execute, approve and file the Bankruptcy Matters and to take any other action done in furtherance
            of the Bankruptcy Matters.

                    RESOLVED, that the undersigned hereby approve and consent to any and all actions taken,
            done or performed in connection with the authority granted by the foregoing resolutions, and all
            legal actions of any nature whatsoever previously taken by any manager, officer, employee, agent,
            attorney or other representative of the Company contemplated by, arising out of or in connection
            with the subject of the foregoing resolutions.




                                                              1
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                    IN WITNESS WHEREOF, the undersigned have executed this Written Consent as of the
            date first written above:


                                                             MANAGERS:




                                                             Omar Jose Gutierrez Hernandez




                                                             Evan H. Essers
